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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   ---------------------------------------------------------------x
   ALFATINA JOHNSON-CREEKMORE                                          CV

                                               Plaintiff,
                       -against-                                       COMPLAINT

   SLB HOLDINGS LLC AND MIGUEL’S                                       JURY TRIAL REQUESTED
   LOCKSMITH & SECURITY CORP.

                                               Defendants.
   ---------------------------------------------------------------x

                                            COMPLAINT

         Plaintiff Alfatina Johnson-Creekmore (hereafter referred to as "Plaintiff”), by

 counsel, Parker Hanski LLC, as and for the Complaint in this action against Defendants

 SLB Holdings LLC and Miguel’s Locksmith & Security Corp.(together referred to as

 "Defendants"), hereby alleges as follows:

                                   NATURE OF THE CLAIMS

         1.       This lawsuit opposes pervasive, ongoing, and inexcusable disability

 discrimination by the Defendants. In this action, Plaintiff seeks declaratory, injunctive,

 and equitable relief, as well as monetary damages, nominal damages, and attorney’s fees,

 costs, and expenses to redress Defendants’ unlawful disability discrimination against

 Plaintiff, in violation of Title III of the Americans with Disabilities Act (“ADA”) 42

 U.S.C. §§ 12181 et. seq. and its implementing regulations; the New York State Human

 Rights Law (“NYSHRL”), Article 15 of the New York State Executive Law ("Executive

 Law''); the New York State Civil Rights Law, § 40 et. seq.; and the New York City

 Human Rights Law (“NYCHRL”), Title 8 of the Administrative Code of the City of New

 York (“Administrative Code”'). As explained more fully below, Defendants own, lease,



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 lease to, operate, and control a place of public accommodation that violates the above-

 mentioned laws. Plaintiff also alleges a claim for Negligence and seeks damages for

 bodily injury proximately caused by the Defendants’ Negligence. Defendants are

 vicariously liable for the acts and omissions of their employees and agents for the

 conduct alleged herein.

                               JURISDICTION AND VENUE

         2.         This Court has jurisdiction over this matter pursuant to 42 U.S.C. §

 12188, and 28 U.S.C. §§ 1331 and 1343 as this action involves federal questions

 regarding the deprivation of Plaintiff's rights under the ADA. The Court has

 supplemental jurisdiction over Plaintiff's related claims arising under the New York State

 and City laws pursuant to 28 U.S.C. § 1367(a).

         3.       Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) because

 Defendants’ acts of discrimination alleged herein occurred in this district and

 Defendants’ place of public accommodation that is the subject of this action is located in

 this district.

                                          PARTIES

         4.       Defendant SLB Holdings LLC owns the property located at 672 Fourth

 Avenue in Kings County, New York (hereinafter referred to as “672 Fourth Avenue”).

         5.        At all relevant times, defendant Miguel’s Locksmith & Security

 Corp.leases property located at 672 Fourth Avenue from the defendant SLB Holdings

 LLC.




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        6.      At all relevant times, defendant Miguel’s Locksmith & Security Corp.has

 and continues to operate a retail establishment at 672 Fourth Avenue doing business as

 Miguel's Locksmith (hereinafter referred to as the “Miguel's Locksmith” premises).

        7.      Each defendant is licensed to and does business in New York State.

        8.      Upon information and belief, SLB Holdings LLC and Miguel’s Locksmith

 & Security Corp. have a written lease agreement.

        9.      At all times relevant to this action, Plaintiff Alfatina Johnson-Creekmore

 has been and remains currently a resident of Brooklyn, New York. More specifically,

 Plaintiff resides on Fourth Avenue in the South Park Slope neighborhood in Brooklyn

 just blocks away from Miguel's Locksmith.

        10.     At all times relevant to this action, Plaintiff Alfatina Johnson-Creekmore

 has been and remains a wheelchair user. Plaintiff has medical conditions that inhibit

 walking and restrict body motion range and movement.

        11.     Plaintiff has patronized Miguel's Locksmith for locksmith services.

        12.     Plaintiff would like to continue to patronize Miguel's Locksmith but she

 has been and remains currently deterred from doing so because of an inaccessible and

 dangerous entrance.

              ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

        13.     Each of the Defendants is a public accommodation as they own, lease,

 lease to, control or operate a place of public accommodation, the Miguel's Locksmith

 premises located at 672 Fourth Avenue, within the meaning of the ADA (42 U.S.C. §

 12181 and 28 C.F.R. § 36.104), the NYSHRL (Executive Law § 292(9)) and the

 NYCHRL (Administrative Code § 8-102(9)).



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         14.     The Miguel's Locksmith premises is a place of public accommodation

 within the meaning of the ADA (42 U.S.C. § 12181 and 28 C.F.R. § 36.104), the

 NYSHRL (Executive Law § 292(9)) and the NYCHRL (Administrative Code (§ 8-

 102(9)) as it is a facility operated by a private entity and its operations affect commerce.

         15.     Numerous architectural barriers exist at the Miguel's Locksmith premises

 that prevent and/or restrict access to Plaintiff, a person with a disability, which include,

 but are not limited to, architectural barriers at the paths of travel.

         16.     Upon information and belief, at some time in or around 2009, defendants

 spent approximately $60,000 on alterations to the Miguel's Locksmith premises and 672

 Fourth Avenue, including areas adjacent and/or attached to 672 Fourth Avenue.

         17.     Upon information and belief, at some time in or around 2015, defendants

 spent approximately $150,000 on alterations to the Miguel's Locksmith premises and 672

 Fourth Avenue, including areas adjacent and/or attached to 672 Fourth Avenue.

         18.     Within the past three years of filing this action, Plaintiff visited and

 attempted to and desired to access the Miguel's Locksmith premises.

         19.     The services, features, elements and spaces of the Miguel's Locksmith

 premises are not readily accessible to, or usable by Plaintiff as required by the Americans

 with Disabilities Act Accessibility Guidelines, 28 C.F.R. Part 36, Appendix A, and

 adopted by the United States Department of Justice in 1991 as the Standards for

 Accessible Design (hereinafter referred to as the “1991 Standards” or the “1991 ADA”)

 or the revised final regulations implementing Title III of the ADA adopted by the United

 States Department of Justice in 2010 as the 2010 Standards for Accessible Design

 (hereinafter referred to as the “2010 Standards” or the “2010 ADA”).



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        20.     Because of Defendants’ failure to comply with the above-mentioned laws,

 including but not limited to the 1991 Standards or the 2010 Standards and the

 Administrative Code, Plaintiff was and has been unable to enjoy safe, equal, and

 complete access to all of the areas of the Miguel's Locksmith premises that are open and

 available to the public.

        21.     Defendants' place of public accommodation has not been designed,

 constructed, or altered in compliance with the 1991 Standards, the 2010 Standards, and/or

 the Building Code of the City of New York (“BCCNY”).

        22.     An entrance with a step is no different than a sign informing people with

 disabilities to “keep out.” See 134 Cong. Rec. S10,454, 10,491 (1988) (statement of Sen.

 Simon) (noting that the architectural barriers are like “Keep Out” signs to the disabled).

        23.     Barriers to access that Plaintiff experienced, encountered and/or which

 deter Plaintiff from patronizing the Miguel's Locksmith premises as well as architectural

 barriers that exist include, but are not limited to, the following:

     I. Defendants do not provide an accessible public entrance. See 28 C.F.R. §
        36.304(c); and 1991 Standards §§ 4.1.1(1); 4.1.3(8), 4.32, and 4.14; and 2010
        Standards §§ 206.1, 206.2, 206.3, 206.2.4, 206.4; and BCCNY §§ 1101.2, 1104.1,
        1103.1.

    II. The primary entrance to defendants’ public accommodation is not accessible. See
        Administrative Code §§ 27-292.5(a) and 27-357(d).

   III. Defendants fail to provide an accessible route to the primary entrance from the
        sidewalk and/or street. See Administrative Code § 27-292.5(b).

   IV. Defendants do not provide an accessible route from public transportation stops,
       accessible parking, public streets or sidewalks to the building entrance that
       coincides with the general circulation path used by patrons to the public
       accommodation thereby relegating plaintiff to a “second class citizen” entrance
       and exit. See 1991 Standards §§ 4.3.2(1), 4.1.2(1), 4.1.1(1) and 4.14.1; 2010
       Standards §§ 206.1, 206.2, 206.3, 206.2.4, 206.4; and BCCNY § 1104.5.



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    V. At the inaccessible public entrance, Defendants do not provide and display the
       International Symbol of Accessibility with the required information indicating the
       location of a designated and nearest accessible entrance. See 1991 Standards §§
       4.1.6(l)(h), 4.1.3(8)(d), 4.30.1, 4.30.7, 4.30.3 and 4.30.6; 2010 Standards §§
       216.6, 703.7.2.1, 703.5; and Administrative Code § 27-292.18.

   VI. Defendants have an inaccessible public entrance and fail to provide and display
       the International Symbol of Accessibility at a designated accessible entrance. See
       1991 Standards §§ 4.1.2(7)(c), 4.1.6(l)(h), 4.1.3(8)(d), 4.30.1, 4.30.7, 4.30.3 and
       4.30.6; 2010 Standards §§ 216.6, 703.7.2.1, 703.5; and Administrative Code § 27-
       292.18.

  VII. Defendants fail to provide accessible entrances in a number at least equivalent to
       the number of exits required by the New York Building and Fire Codes. See 1991
       Standards §§ 4.1.3(8)(a)(ii), 4.1.3(9), 4.3.10; 2010 Standards § 207.1; and
       Administrative Code §§ 27-354 and 27-365.

 VIII. Defendants fail to provide that at least 50% and/or 60% of all its public entrances
       are accessible. See 1991 Standards § 4.1.3.8(a)(i); and 2010 Standards §§
       206.4.1, and 404.

   IX. Defendants fail to provide that an accessible route from the primary entrance to
       the entire interior is equivalent to the route afforded to the non-disabled. See
       Administrative Code § 27-292.5(b).

    X. The property owner defendant failed to provide an accessible entrance to the
       tenant. See 1991 Standards § 4.1.3(a)(iii); 2010 Standards § 206.4.5, 404;
       Administrative Code § 27-362; and BCCNY § 1105.1.6.

   XI. Defendants fail to provide that no changes in level exist inside the required
       minimum maneuvering clearance at the ground space in front of the public
       entrance door. See 1991 Standards§§ 4.37, 4.13.6, 4.3.8, 4.5.2; and 2010
       Standards §§ 305.2, 302, 304.2, 404.2.4.4.

        24.     The remediation necessary to provide an ADA compliant wheelchair

 accessible entrance are known, architecturally possible, and financially achievable for the

 Defendants. Remediation includes installation of a permanent exterior wheelchair

 accessible ramp; installation of an incline platform lift; raising the level of the sidewalk;

 or installation of a permanent interior wheelchair accessible ramp.




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         25.     Upon information and belief, a full inspection of the Miguel's Locksmith

 premises will reveal the existence of other barriers to access.

         26.     As required by the ADA (remedial civil rights legislation) to properly

 remedy Defendants’ discriminatory violations and avoid piecemeal litigation, Plaintiff

 requires a full inspection of the Miguel's Locksmith premises in order to catalogue and

 cure all of the areas of non-compliance with the ADA. Notice is therefore given that

 Plaintiff intends to amend the Complaint to include any violations discovered during an

 inspection that are not contained in this Complaint.

         27.     Defendants have denied Plaintiff the opportunity to participate in or

 benefit from services or accommodations because of disability.

         28.     Defendants have not satisfied their statutory obligation to ensure that their

 policies, practices, procedures for persons with disabilities are compliant with the laws.

 Nor have Defendants made or provided accommodations or modifications for persons

 with disabilities.

         29.     Plaintiff has a realistic, credible, and continuing threat of discrimination

 from the Defendants’ non-compliance with the laws prohibiting disability discrimination.

 The barriers to access within the Miguel's Locksmith premises continue to exist and deter

 Plaintiff.

         30.     Plaintiff frequently travels to the area where the Miguel's Locksmith

 premises is located.

         31.     Plaintiff intends to patronize the Miguel's Locksmith premises several

 times a year after it becomes fully accessible and compliant with the 1991 Standards or

 the 2010 Standards, and the Administrative Code.



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        32.     Plaintiff is also a “tester” for the purposes of asserting basic civil rights

 and monitoring, ensuring, and determining whether the Miguel's Locksmith premises is

 fully accessible and compliant with the 1991 Standards or the 2010 Standards, and the

 Administrative Code.

        33.     Plaintiff intends to patronize the Miguel's Locksmith premises several

 times a year as “tester” to monitor, ensure, and determine whether the Miguel's

 Locksmith premises is fully accessible and compliant with the 1991 Standards or the

 2010 Standards, and the Administrative Code.

                          FIRST CAUSE OF ACTION
         (VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT)

        34.     Plaintiff realleges and incorporates by reference all allegations set forth in

 this Complaint as if fully set forth herein.

        35.     Plaintiff is substantially limited in the life activity of both walking and

 body motion range and thus has a disability within the meaning of the ADA. As a direct

 and proximate result of Plaintiff’s disability, Plaintiff uses a wheelchair for mobility, and

 also has restricted use of arms and hands.

        36.     The ADA imposes joint and several liability on both the property owner

 and lessee of a public accommodation. 28 C.F.R. 36.201(b).

        37.     Under the ADA, both the property owner and lessee are liable to the

 Plaintiff, and neither can escape liability by transferring their obligations to the other by

 contract (i.e., lease agreement). 28 C.F.R. 36.201(b).

        38.     Defendants have and continue to subject Plaintiff to disparate treatment by

 denying Plaintiff full and equal opportunity to use their place of public accommodation




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 all because Plaintiff is disabled. Defendants’ policies and practices have and continue to

 subject Plaintiff to disparate treatment and disparate impact.

        39.      By failing to comply with the law in effect for decades, Defendants have

 articulated to disabled persons such as the Plaintiff that they are not welcome,

 objectionable, and not desired as patrons of their public accommodation.

        40.      Defendants have discriminated against the Plaintiff by designing and/or

 constructing a building, facility and place of public accommodation that is not readily

 accessible to and usable by the disabled Plaintiff and not fully compliant with the 1991

 Standards or the 2010 Standards. See 28 C.F.R. § 36.401(A)(1) and 42 U.S.C.

 §12183(a)(1).

        41.      The Miguel's Locksmith premises are not fully accessible and fail to

 provide an integrated and equal setting for people with disabilities, in violation of 42

 U.S.C. §12182(b)(1)(A) and 28 C.F.R. § 36.203.

        42.      Defendants failed to make alterations accessible to the maximum extent

 feasible in violation of 28 C.F.R. §§ 36.402 and 36.406 and 42 U.S.C. §12183(a)(2).

        43.      The paths of travel to the altered primary function areas were not made

 accessible in violation of 28 C.F.R. § 36.403.

        44.      Defendants failed to make all readily achievable accommodations and

 modifications to remove barriers to access in violation of 28 C.F.R. § 36.304. It would

 be readily achievable to make Defendants’ place of public accommodation fully

 accessible.

        45.      By failing to remove the barriers to access where it is readily achievable to

 do so, Defendants have discriminated against Plaintiff on the basis of disability in



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  violation of § 302(a) and 302(b)(2)(A)(iv) of the ADA, 42 U.S.C. § 12182(a),

  (b)(2)(A)(iv), and 28 C.F.R. § 36.304.

         46.     In the alternative, Defendants have violated the ADA by failing to provide

  Plaintiff with reasonable alternatives to barrier removal as required by 28 C.F.R. §

  36.305.

         47.     Defendants’ failure to remove the barriers to access constitutes a pattern

  and practice of disability discrimination in violation of 42 U.S.C. § 12181 et. seq., and 28

  C.F.R § 36.101 et. seq.

         48.     Defendants have and continue to discriminate against Plaintiff in violation

  of the ADA by failing to maintain and/or create a wheelchair accessible public

  accommodation.

                       SECOND CAUSE OF ACTION
        (VIOLATIONS OF THE NEW YORK STATE HUMAN RIGHTS LAW)

         49.     Plaintiff realleges and incorporates by reference all allegations set forth in

  this Complaint as if fully set forth herein.

         50.     Plaintiff has various medical conditions that separately and together

  prevent the exercise of normal bodily functions in Plaintiff; in particular, the life

  activities of both walking and body motion range. Plaintiff therefore has from a

  disability within the meaning of the Executive Law § 296(21).

         51.     In 2019, the New York State legislature enacted legislation that provides

  effective immediately that the New York State Human Rights Law shall be “construed

  liberally for the accomplishment of the remedial purposes thereof, regardless of whether

  federal civil rights laws, including those laws with provisions worded comparably to the




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  provisions of this article, have been so construed”. See Executive Law § 300 [effective

  date: August 12, 2019].

          52.     By amending the Executive Law § 300 to mirror the text of the New York

  City Local Civil Rights Restoration Act of 2005 (Local Law 85 of 2005), the New York

  State legislature confirmed the legislative intent to abolish parallel construction between

  the New York State Human Rights Law and related Federal anti-discrimination laws.

          53.     Defendants have and continue to subject Plaintiff to disparate treatment by

  denying Plaintiff equal opportunity to use their place of public accommodation all

  because Plaintiff is disabled.

          54.     Defendants discriminated against Plaintiff in violation of NYSHRL

  (Executive Law § 296(2)), by maintaining and/or creating an inaccessible place of public

  accommodation. Each of the Defendants have aided and abetted others in committing

  disability discrimination.

          55.     Defendants have failed to make all readily achievable accommodations

  and modifications to remove barriers to access in violation of NYSHRL (Executive Law

  § 296(2)(c)(iii)).

          56.     In the alternative, Defendants have failed to provide Plaintiff with

  reasonable alternatives to barrier removal as required in violation of NYSHRL

  (Executive Law § 296(2)(c)(iv)).

          57.     It would be readily achievable to make Defendants’ place of public

  accommodation fully accessible.

          58.     It would not impose an undue hardship or undue burden on Defendants to

  make their place of public accommodation fully accessible.



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         59.     As a direct and proximate result of Defendants' unlawful discrimination in

  violation of NYSHRL, Plaintiff has suffered, and continues to suffer emotional distress,

  including but not limited to humiliation, embarrassment, stress, and anxiety.

         60.     Plaintiff has suffered and will continue to suffer damages in an amount to

  be determined at trial.

                        THIRD CAUSE OF ACTION
         (VIOLATIONS OF THE NEW YORK CITY HUMAN RIGHTS LAW)

         61.     Plaintiff realleges and incorporates by reference all allegations set forth in

  this Complaint as if fully set forth herein.

         62.     Plaintiff has various medical conditions that separately and together,

  impair Plaintiff’s bodily systems - in particular, the life activity of both walking and body

  motion range - and thus Plaintiff has a disability within the meaning of the NYCHRL

  (Administrative Code § 8-102(16)).

         63.     Defendants have and continue to subject Plaintiff to disparate treatment

  and disparate impact by directly and indirectly refusing, withholding, and denying the

  accommodations, advantages, facilities, and privileges of their place of public

  accommodation all because of disability in violation of the NYCHRL (Administrative

  Code § 8-107(4)). Each of the Defendants have aided and abetted others in committing

  disability discrimination.

         64.     Defendants have and continue to commit disability discrimination in

  violation of the Administrative Code (inclusive of § 8-107(4)) because of the violations

  of the ADA as alleged herein.




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         65.     Defendants have discriminated, and continue to discriminate, against

  Plaintiff in violation of the NYCHRL (Administrative Code § 8-107(4)) by designing,

  creating and/or maintaining an inaccessible commercial facility/space.

         66.     Defendants have subjected, and continue to subject, Plaintiff to disparate

  treatment by directly and indirectly refusing, withholding, and denying the

  accommodations, advantages, facilities, and privileges of their commercial facility/space

  all because of disability in violation of the NYCHRL (Administrative Code § 8-107(4)).

         67.     Defendants’ policies and procedures inclusive of the policies of refusing to

  expend funds to design, create and/or maintain an accessible commercial facility/space is

  a discriminatory practice in violation of NYCHRL (Administrative Code § 8-107(4)).

         68.     In violation of the NYCHRL (Administrative Code § 8-107(6)),

  Defendants have and continue to, aid and abet, incite, compel, or coerce each other in

  each of the other Defendants’ attempts to, and in their acts of directly and indirectly

  refusing, withholding, and denying the accommodations, advantages, facilities, and

  privileges of their commercial facility/space and the place of public accommodation

  therein, all because of disability, as well as other acts in violation of the NYCHRL.

         69.     Administrative Code §§ 19-152 and 7-210 impose a non-delegable duty on

  the property owner to repave, reconstruct, repair, and maintain its abutting public

  sidewalk. As a result, SLB Holdings LLC continuously controlled, managed, and

  operated the public sidewalk abutting 672 Fourth Avenue, which includes the portion of

  the sidewalk constituting the entrance to Defendants’ place of public accommodation.




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         70.      SLB Holdings LLC’s failure to construct and maintain an accessible

  entrance from the public sidewalk to Defendants’ place of public accommodation

  constitutes disability discrimination in a violation of the Administrative Code.

         71.      Defendants’ conduct also violates the NYCHRL, Administrative Code 8-

  107 (17), which states that “an unlawful discriminatory practice . . . is established . . .

  [when plaintiff] demonstrates that a policy or practice of a covered entity or a group of

  policies or practices of a covered entity results in a disparate impact to the detriment of

  any group protected by the provisions of this chapter.”

         72.      Because Defendants’ public accommodation is not readily accessible and

  usable by people with disabilities, Defendants have demonstrated a policy or practice that

  has a disproportionately negative impact on people with disabilities (including Plaintiff).

         73.      Defendants’ conduct constitutes an ongoing and continuous violation of

  the NYCHRL. Unless Defendants are enjoined from further violations, Plaintiff will

  continue to suffer injuries for which there is no adequate remedy at law. In particular,

  Plaintiff will suffer irreparable harm by being denied the accommodations, advantages,

  facilities, or privileges of the Defendants’ public accommodation.

         74.      As a direct and proximate result of Defendants' unlawful discrimination in

  violation of the NYCHRL, Plaintiff has suffered, and continues to suffer emotional

  distress, including but not limited to humiliation, stress, and embarrassment.

         75.      Upon information and belief, Defendants’ long-standing refusal to make

  their place of public accommodation fully accessible was deliberate, calculated,

  egregious, and undertaken with reckless disregard to Plaintiff’s rights under the

  NYCHRL.



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         76.     By failing to comply with the law in effect for decades, Defendants have

  articulated to disabled persons such as the Plaintiff that they are not welcome,

  objectionable, and not desired as patrons of their public accommodation.

         77.     Defendants engaged in discrimination with willful or wanton negligence,

  and/or recklessness, and/or a conscious disregard of the rights of others and/or conduct so

  reckless as to amount to such disregard for which Plaintiff is entitled to an award of

  punitive damages pursuant to NYCHRL (Administrative Code § 8-502).

         78.     By refusing to make their place of public accommodation accessible,

  Defendants have unlawfully profited from their discriminatory conduct by collecting

  revenue from a non-compliant space and pocketing the money that they should have

  lawfully expended to pay for a fully compliant and accessible space. Defendants’

  unlawful profits plus interest must be disgorged.

         79.     Plaintiff has suffered and will continue to suffer damages in an amount to

  be determined at trial.

                       FOURTH CAUSE OF ACTION
         (VIOLATIONS OF THE NEW YORK STATE CIVIL RIGHTS LAW)

         80.     Plaintiff realleges and incorporates by reference all allegations set forth in

  this Complaint as if fully set forth herein.

         81.     Defendants discriminated against Plaintiff pursuant to New York State

  Executive Law.

         82.     Consequently, Plaintiff is entitled to recover the monetary penalty

  prescribed by Civil Rights Law §§ 40-c and 40-d for each and every violation.

         83.     Notice of this action has been served upon the Attorney General as

  required by Civil Rights Law § 40-d.

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                                   FIFTH CAUSE OF ACTION
                                 (COMMON LAW NEGLIGENCE)

          84.     Plaintiff realleges and incorporates by reference all allegations set forth in

  this Complaint as if fully set forth herein.

          85.     Defendants negligently designed, constructed, operated, repaired, and

  maintained their place of public accommodation located at 672 Fourth Avenue in a

  manner that has rendered their place of public accommodation unsafe to the disabled

  Plaintiff.

          86.     At all relevant times, Defendants, who hold their property open to the

  public, have had a duty to patrons such as Plaintiff to design, construct, operate, repair,

  and maintain their place of public accommodation located at 672 Fourth Avenue in a

  reasonably safe condition.

          87.     Defendants breached their duty by negligently designing, constructing,

  operating, repairing, and maintaining their place of public accommodation located at 672

  Fourth Avenue in a manner that has unreasonably endangered the Plaintiff’s physical

  safety and caused bodily injury to Plaintiff.

          88.     Defendants’ failure to design, construct, operate, repair, and maintain their

  place of public accommodation located at 672 Fourth Avenue in a manner that is safe to

  the disabled Plaintiff has proximately caused Plaintiff to suffer bodily injury.

          89.     Defendants have had actual and constructive notice that their place of

  public accommodation located at 672 Fourth Avenue is not safe to people with

  disabilities.

          90.     As a direct result of Defendants’ negligence, Plaintiff has suffered and

  continues to suffer a bodily injury in an amount to be determined at trial.

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                                         INJUNCTIVE RELIEF

         91.      Plaintiff will continue to experience unlawful discrimination because of

  Defendants' failure to comply with the above-mentioned laws. Therefore, injunctive

  relief is necessary to order Defendants to alter and modify their place of public

  accommodation and their operations, policies, practices, and procedures.

         92.      Injunctive relief is also necessary to make Defendants' facilities readily

  accessible to and usable by Plaintiff in accordance with the above-mentioned laws.

         93.      Injunctive relief is further necessary to order Defendants to provide

  auxiliary aids or services, modification of their policies, and/or provision of alternative

  methods, in accordance with the ADA, NYSHRL, and the NYCHRL.

                                         JURY DEMAND

                      Plaintiff demands a trial by jury on all claims so triable.

                                     PRAYER FOR RELIEF

         WHEREFORE, Plaintiff respectfully requests that the Court enter a judgment

  against the Defendants, jointly and severally, in favor of Plaintiff that contains the

  following relief:

               A. Enter declaratory judgment declaring that Defendants have violated the

  ADA and its implementing regulations, NYSHRL and NYCHRL and declaring the rights

  of Plaintiff as to Defendants' place of public accommodation, and Defendants’ policies,

  practices, and procedures;

               B. Issue a permanent injunction ordering Defendants to close and cease all

  business until Defendants remove all violations of the ADA, the 1991 Standards or the




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  2010 Standards, NYSHRL and NYCHRL, including but not limited to the violations set

  forth above;

             C. Retain jurisdiction over the Defendants until the Court is satisfied that the

  Defendants' unlawful practices, acts and omissions no longer exist and will not reoccur;

             D. Award Plaintiff compensatory damages and nominal damages because of

  Defendants' violations of the NYSHRL and the NYCHRL;

             E. Award Plaintiff punitive damages to punish and deter the Defendants for

  their violations of the NYCHRL;

             F. Award Plaintiff the monetary penalties for each violation of the law, per

  defendant, pursuant to New York State Civil Rights Law §§ 40-c and 40-d;

             G. Find that Plaintiff is a prevailing party and award reasonable attorney’s

  fees, costs, and expenses pursuant to the NYCHRL, and the ADA; and

             H. For such other and further relief, at law or in equity, to which Plaintiff

  may be justly entitled.

  Dated: February 27, 2024
         New York, New York
                                                Respectfully submitted,

                                                PARKER HANSKI LLC


                                                By:    /s
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